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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 LEXOS MEDIA IP, LLC,                               §
                                                    §
        Plaintiff,                                  §    Civil Action No. 2:16-cv-00747-JRG-RSP
                                                    §
                                                                           (LEAD)
                v.                                  §
                                                    §
 APMEX, INC.,                                       §
 COSTCO WHOLESALE CORP.,                            §    Civil Action No. 2:16-cv-00748-JRG-RSP
 MUSICIAN’S FRIEND, INC., and GUITAR                §    Civil Action No. 2:16-cv-00749-JRG-RSP
 CENTER, INC.,                                      §
 NORDSTROM, INC.,                                   §    Civil Action No. 2:16-cv-00750-JRG-RSP
 SAKS INCORPORATED,                                 §    Civil Action No. 2:16-cv-00751-JRG-RSP
 VICTORIA’S SECRET STORES BRAND                     §    Civil Action No. 2:16-cv-00752-JRG-RSP
 MANAGEMENT, INC.,                                  §
                                                    §
        Defendants.                                 §

                                  DOCKET CONTROL ORDER

        In accordance with the scheduling conference held in this case, it is hereby ORDERED

 that the following schedule of deadlines is in effect until further order of this Court:

 Original Deadline       Amended
                                                 Event
                         Deadline

 February 5, 2018                                *Jury Selection- 9:00 a.m.in Marshall, Texas
                                                 Before Judge Rodney Gilstrap

 January10, 2018                                 *Pretrial Conference- 9:00 a.m.in Marshall,
                                                 Texas before Judge Roy Payne

 January 3, 2018                                 *Notify Court of Agreements Reached During
                                                 Meet and Confer

                                                 The parties are ordered to meet and confer on any
                                                 outstanding Objections or motions in limine. The
                                                 parties shall advise the Court of any agreements
                                                 reached no later than 1:00 p.m. three (3) business
                                                 days before the pretrial conference.
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 Original Deadline   Amended
                                         Event
                     Deadline

 January 1, 2018     January 2, 2018     *File Joint Pretrial Order, Joint Proposed Jury
                                         Instructions, Joint Proposed Verdict Form,
                                         Responses to Motions in Limine, Updated Exhibit
                                         Lists, Updated Witness Lists, and Updated
                                         Deposition Designations

 December 25, 2017   December 22, 2017   *File Notice of Request for Daily Transcript or
                                         Real Time Reporting.

                                         If a daily transcript or real time reporting of court
                                         proceedings is Requested for trial, the party or
                                         parties making said request shall file a notice with
                                         the Court and e-mail the Court Reporter, Shelly
                                         Holmes, at
                                         shelly_holmes@txed.uscourts.gov.

 December 18, 2017                       File Motions in Limine

                                         The parties shall limit their motions in limine to
                                         issues that if improperly introduced at trial would
                                         be so prejudicial that the Court could not alleviate
                                         the prejudice by giving appropriate instructions to
                                         the jury.

 December 18, 2017                       Serve Objections to Rebuttal Pretrial Disclosures

 December 4, 2017                        Serve Objections to Pretrial Disclosures; and Serve
                                         Rebuttal Pretrial Disclosures

 November 27, 2017                       Serve Pretrial Disclosures (Witness List,
                                         Deposition Designations, and Exhibit List) by the
                                         Party with the Burden of Proof

 October 30, 2017                        *File Motions to Strike Expert           Testimony
                                         (including Daubert Motions)

                                         No motion to strike expert testimony (including a
                                         Daubert motion) may be filed after this date
                                         without leave of the Court.
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 Original Deadline    Amended
                                     Event
                      Deadline

 October 30, 2017                    *File Dispositive Motions

                                     No dispositive motion may be filed after this date
                                     without leave of the Court.

                                     Motions shall comply with Local Rule CV- 56 and
                                     Local Rule CV- 7. Motions to extend page limits
                                     will only be granted in exceptional circumstances.
                                     Exceptional circumstances require more than
                                     agreement among the parties.

 October 30, 2017                    Deadline to Complete Expert Discovery

 October 9, 2017                     Serve Disclosures for Rebuttal Expert Witnesses

 September 18, 2017                  Deadline to Complete Fact Discovery and File
                                     Motions to Compel Discovery

 September 18, 2017                  Serve Disclosures for Expert Witnesses by the
                                     Party with the Burden of Proof

 August 3, 2017                      Deadline to Complete Mediation

                                     The parties are responsible for ensuring that a
                                     mediation report is filed no later than 5 days after
                                     the conclusion of mediation.

 July 27, 2017                       Comply with P.R.3-7 (Opinion of Counsel
                                     Defenses

 July 6, 2017                        *Claim    Construction    Hearing-9:00       a.m.in
                                     Marshall, Texas before Judge Roy Payne

 June 22, 2017                       *Comply     with    P.R.4-5(d)      (Joint   Claim
                                     Construction Chart)

 June 15, 2017                       *Comply with P.R.4-5(c)            (Reply    Claim
                                     Construction Brief)

 June 8, 2017                        Comply with P.R.4-5(b) (Responsive Claim
                                     Construction Brief)
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 Original Deadline   Amended
                                         Event
                     Deadline

 May 25, 2017                            Comply with P.R.        4-5(a) (Opening Claim
                                         Construction Brief)     and Submit Technical
                                         Tutorials(if any)

                                         Good cause must be shown to submit technical
                                         tutorials after the deadline to comply with P.R.4-
                                         5(a).

 May 25, 2017                            Deadline to Substantially Complete Document
                                         Production and Exchange Privilege Logs.

                                         Counsel are expected to make good faith efforts to
                                         produce all required documents as soon as they are
                                         available and not wait until the substantial
                                         completion deadline.

 May 11, 2017                            Comply with P.R. 4-4 (Deadline to Complete
                                         Claim Construction Discovery)

 May 4, 2017                             File Response to Amended Pleadings

 April 20, 2017                          *File Amended Pleadings

                                         It is not necessary to seek leave of Court to amend
                                         pleadings prior to this deadline unless the
                                         amendment seeks to assert additional patents.

 April 13, 2017                          Comply with P.R.4-3 (Joint Claim Construction
                                         Statement)

 March 23, 2017                          Comply with P.R.4-2 (Exchange Preliminary
                                         Claim Construction)

 March 2, 2017                           Comply with P.R.4-1 (Exchange Proposed Claim
                                         Terms)

 December 15, 2016   December 22, 2016   Comply with       P.R.3-3    &    3-4   (Invalidity
                                         Contentions
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 Original Deadline      Amended
                                               Event
                        Deadline

 November 24, 2016      November 30, 2016      *File Proposed Protective Order and Comply with
                                               Paragraphs1 & 3 of the Discovery Order(Initial
                                               and Additional Disclosures)

                                               The Proposed Protective Order shall be filed as a
                                               separate motion with the caption indicating
                                               whether or not the proposed order is opposed in
                                               any part.

 November 17, 2016                             *File Proposed Docket         Control   Order    and
                                               Proposed Discovery Order

                                               The Proposed Docket Control Order and Proposed
                                               Discovery Order shall be filed as separate motions
                                               with the caption indicating whether or not the
                                               proposed order is opposed in any part.

 November 10, 2016                             Join Additional Parties

 November 6, 2016                              *File Notice of Mediator

 October 20, 2016                              Comply with P.R. 3-1 & 3-2 (Infringement
                                               Contentions)

 (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
 shown merely by indicating that the parties agree that the deadline should be changed.

                               ADDITIONAL REQUIREMENTS

        Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
 mediator or indicates that no agreement was reached. If the parties do not reach an agreement,
 the Court will appoint a mediator. The parties should not file a list of mediators to be considered
 by the Court.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
 Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
 completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
 exhibits, in D-three- ring binder, appropriately tabbed. All documents shall be single-sided and
 must include the CM/ECF header. For expert-related motions, complete digital copies of the
 relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive.
 These copies shall be delivered as soon as briefing has completed.
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         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
 include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
 the local rules’ normal page limits.

          Motions for Continuance: The following excuses will not warrant a continuance nor
 justify a failure to comply with the discovery deadline:

 (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

 (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
        unless the other setting was made prior to the date of this order or was made as a special
 .
        provision for the parties in the other case;

 (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
        was impossible to complete discovery despite their good faith effort to do so.

         Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
 the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
 include a proposed order that lists all of the remaining dates in one column (as above) and the
 proposed changes to each date in an additional adjacent column (if there is no change for a date
 the proposed date column should remain blank or indicate that it is unchanged). In other words,
 the DCO in the proposed order should be complete such that one can clearly see all the
 remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
 to an earlier version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format describe
 above under “Amendments to the Docket Control Order (‘DCO’).”
        SIGNED this 3rd day of January, 2012.
        SIGNED this 20th day of November, 2016.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
